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                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION
In re:                                             §               Case No. 19-34054
                                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P.                  §               Chapter 11
                                                   §
         Debtor.                                   §
HIGHLAND CAPITAL MANAGEMENT, L.P.,                 §
                                                   §
         Plaintiff.                                §
v.                                                 §               Adversary No. 21-03003-sgj
                                                   §
JAMES D. DONDERO, NANCY DONDERO, AND               §
THE DUGABOY INVESTMENT TRUST,                      §
                                                   §
         Defendants.                               §

HIGHLAND CAPITAL MANAGEMENT, L.P.,                 §
                                                   §
         Plaintiff.                                §
                                                   §
v.                                                 §
                                                   §               Adversary No.: 21-03005-sgj
NEXPOINT ADVISORS, L.P., JAMES                     §
DONDERO, NANCY DONDERO, AND THE                    §
DUGABOY INVESTMENT TRUST,                          §
                                                   §
         Defendants.                               §



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HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
         Plaintiff.                          §
                                             §
v.                                           §
                                             §           Adversary No.: 21-03006-sgj
HIGHLAND CAPITAL MANAGEMENT                  §
SERVICES, INC., JAMES DONDERO, NANCY         §
DONDERO, AND THE DUGABOY                     §
INVESTMENT TRUST,                            §
                                             §
         Defendants.                         §

HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
         Plaintiff.                          §
                                             §
v.                                           §
                                             §           Adversary No.: 21-03007-sgj
HCRE PARTNERS, LLC (n/k/a NEXPOINT           §
REAL ESTATE PARTNERS, LLC), JAMES            §
DONDERO, NANCY DONDERO AND THE               §
DUGABOY INVESTMENT TRUST,                    §
                                             §
         Defendants.                         §




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    REPLY IN SUPPORT OF DEFENDANTS' RULE 12(b)(6) MOTION TO DISMISS
       PLAINTIFF'S FIFTH, SIXTH, AND SEVENTH CLAIMS FOR RELIEF

         Defendants file this reply (the “Reply”) in support of their Rule 12(b)(6) Motion (the

“Motion”) to Dismiss Plaintiff’s Fifth, Sixth, and Seventh Claims for Relief as follows.

                                     I.       INTRODUCTION

         1.       First, with respect to the Declaratory Judgement Claim, Plaintiff still shows no

controversy, a necessary element when seeking declaratory relief. The LPA explicitly gives

Dugaboy the right to approve compensation in § 3.10(a). Because Dugaboy was explicitly

permitted to approve compensation in the LPA, doing so does not result in a justiciable

controversy. Further, Plaintiff's request for declaratory relief is improper because it seeks to

establish Defendants’ liability for a past act and to settle matters otherwise already before this

Court.

         2.       Second, Plaintiff relies on inapposite cases to attempt to challenge Defendants’

straightforward argument that Plaintiff lacks standing to pursue post-petition claims against them

that arise out of a contract that Plaintiff rejected.

         3.       Third, because Dugaboy did not take an active role in the control or management

of Plaintiff that would impose fiduciary duties on a limited partner, Plaintiff's authority is

inapposite. Rather, Del. Code Ann. Tit. 6, § 17-303(b)(8)(o), which defines control of a business,

is dispositive.

         4.       Finally, Plaintiff's Seventh Claim does not plausibly state a claim for aiding and

abetting breach of fiduciary duty against Jim or Nancy Dondero. Plaintiff does not sufficiently

allege knowing participation by the Donderos, and its position that Nancy Dondero aided or

abetted her own actions is nonsensical.




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                                      II.      ARGUMENT

A.       Declaratory Relief is Not Appropriate.

         1.       Plaintiff Presents No Actual Controversy.

         5.       Plaintiff argues that the “heart of this Claim” is whether or not Dugaboy had

authority to make the Agreement and approve compensation under the LPA. (Response, ¶ 27).

But there is no doubt that entering into the Agreement – and thus approving compensation – is

exactly what Dugaboy could do.1

         6.       Plaintiff's reliance on cases like Frye v. Anadarko Petroleum Corp, 953 F.3d 285

(5th Cir. 2019) and MedImmune, Inc. v. Grenetech, Inc., 549 U.S. 118 (2008) underscore the fallacy

in Plaintiff’s position.2 In Frye, the plaintiff asked the court to determine whether disclosing a

letter she received from the SEC would violate her nondisclosure agreement with the defendant

corporation while she was under threat of litigation for doing so. Id. Accordingly, the court found

that “threats in MedImmune and Vantage Trailers [regarding threatened litigation] . . .were both

sufficiently immediate to create a justiciable controversy, [and] are analogous to the threats that

[defendant] made to Frye.” Id. at 295. Likewise, in a case addressing whether or not a patent

licensee must either terminate or breach its license agreement before it could seek declaratory

judgment, the Supreme Court in Medimmune found that “[the] petitioner was not required…to

break or terminate its 1997 license agreement before seeking a declaratory judgment in federal

court that the underlying patent is invalid, unenforceable, or not infringed.” Id. at 137. Both cases

involved actual disputes that a court could meaningfully address. Here however, the LPA simply

leaves no room for a contention that Dugaboy lacked the power to enter into the Agreement and

Plaintiff’s response does not point to anything to the contrary.




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         2.       Dugaboy's Agreement Provided for the Possibility the Notes Would be
                  Forgiven.

         7.       Plaintiff's argument that the Agreement was not contemplated by the LPA is

unfounded. Section 3.10 of the LPA expressly allows Dugaboy to approve compensation and the

Agreement did exactly that, by approving the conditions under which loans would be forgiven and

become deferred compensation. This is no different than an agreement setting the terms under

which a potential bonus would earned.                Because Dugaboy's Agreement approved potential

compensation, and the LPA expressly provides Dugaboy with the right to approve such

compensation, there is no controversy to decide or rights to declare.

         3.       Plaintiff Cannot use Declaratory Relief to Proclaim Liability for a Past Act.

         8.       Plaintiff asks this Court to proclaim Defendant's liability for a past act, as opposed

to some present or future conduct.          But as shown by the very cases Plaintiff cites “…a claim for

declaratory judgment seeks to define legal rights and obligations of the parties in anticipation of

some future conduct, not proclaim liability for a past act.” Hosp. Internists of Austin, P.A. v.

Quantum Plus, LLC, 1:18-CV-466-RP, 2019 WL 1922051 at 4 (W.D. Tex. Jan. 23, 2019) (citing

Haggard v. Bank of the Ozarks, 547 F.App'x 616, 620 (5th Cir. 2013)). Further, “in order for a



1
  LPA, § 3.10(a): “Compensation. The General Partner and any Affiliate of the General partner shall receive no
compensation from the Partnership for services rendered pursuant to this Agreement or any other agreements unless
approved by a Majority Interest (Dugaboy holds the majority of Class A interest in the LP); provided however, that
no compensation above five million dollars per year may be approved, even by a Majority Interest, during a NAV
Ratio Trigger Period.” Further, the NAV Ratio Trigger Period extinguishes Plaintiff's argument that Dugaboy had a
“blank check” regarding compensation, discussed infra.

2
  See also Kelly Inv., Inc. v. Cont'l Common Corp., No. CIV. A. 01-609, 2001 WL 630467 (E.D. La. June 5, 2021)
(applying Louisiana Civil Code to contract interpretation regarding plaintiff's claim for declaratory judgment where
contractual provisions were in conflict with each other); Watson v. Citimortgage, Inc., 814 F.Supp.2d 726, 738 (E.D.
Tex. 2011) (court denied defendant's motion to dismiss declaratory judgment because the underlying breach of
contract action upon which the controversy was based survived dismissal); Venator Group Specialty, Inc. v.
Matthew/Muniot Family, LLC., 322 F.3d 835 (5th Cir. 2003) (court finding ripeness of declaratory judgment action
where terms of a commercial lease executed in 1938 and set to terminate in the near future were impossible to perform
and that plaintiff’s planned development of the building in the future could not go forward without declaratory relief
was sufficient pleading).


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court to grant declaratory relief, there must be a ‘substantial and continuing controversy between

two adverse parties’ and ‘a substantial likelihood that [a plaintiff] will suffer injury in the future.’”

Hosp. Internists at 4 (citing Bauer v. Texas, 341 F.3d 352, 358 (5th Cir. 2003)).

         9.       Despite Plaintiff’s reliance on Hosp. Internists, it instead provides support for

Defendants’ Motion. In Hosp. Internists, after dismissing plaintiff's first claim for declaratory

judgment since declaratory relief cannot create a private right of action where none exists, the

court upheld only plaintiff's second claim for declaratory judgment because as to that claim the

plaintiff established its right to future payments and thus, future damages. Id. at 6. Here, Plaintiff

contends it was damaged when Defendants did not pay their respective demand and term notes in

December 2020,3 which are events that have already occurred. Because Plaintiff has no risk of

impending harm, it is not entitled to declaratory relief.

         4.       Plaintiff Cannot Use Declaratory Judgment to Settle a Dispute Already Before
                  the Court.

         10.      Plaintiff is impermissibly attempting to use declaratory judgment to settle a dispute

that is otherwise already pending before this Court. “A request for declaratory judgment need not

be permitted if it adds nothing to the suit,” and “courts generally dismiss declaratory judgment

claims seeking to resolve matters already pending before the court.” UST-Mamiya, Inc. v. True

Sports, Inc., 441 F. Supp. 3d 382, 396 (N.D. Tex. 2020) (citing Merritt, Hawkins & Assocs., LLC

v. Gresham, 2014 WL 685557, at 3 (N.D. Tex. Feb. 21, 2014)). In Merritt, the court dismissed a

defendant's counterclaim seeking declaratory relief on certain provisions of a contract that was the

basis for the plaintiff's breach of contract claim. Id. The court found that “[d]efendants’




3
 All of Defendants' demand notes were called on December 11, 2020, see Am. Compl. ¶ 26, Adv. No. 21-03003 [Doc.
79]; Am. Compl. ¶ 28, Adv. No. 21-03007 [Doc. 63]; Am. Compl. ¶ 28, Adv. No. 21-03006 [Doc. 68]; and Debtor
purported to accelerate Defendants term notes on or about January 7, 2020, see Am. Compl. ¶ 27, Adv. No. 21-03005
[Doc. 63]; Am. Compl. ¶ 42, Adv. No. 21-03006 [Doc 68]; Am. Compl. ¶ 43, Adv. No. 21-03007 [Doc. 63].

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counterclaims merely seek declaratory judgment on an issue already pending before the court [the

enforceability of certain contractual provisions],” and dismissed the declaratory judgment

counterclaim since the issues would ultimately be decided on the underlying claim.4 Id. at 3.

         11.      Here, Plaintiff is attempting the same impermissible use of declaratory judgment

attempted in Merritt by seeking declaratory relief after Defendants already raised the Agreement

as an affirmative defense. By seeking a declaration from this Court that the Agreement is “null

and void,” Plaintiff does no more than ask the Court to adjudicate Defendants' affirmative defense,

making its attempt to obtain declaratory relief improper.

B.       Plaintiff's Argument That When its Claims Accrued is Irrelevant is Unfounded.

         12.      Plaintiff's argument that when its claims accrued is irrelevant to standing is based

on inapposite authority. The only case provided to this Court addressing an estate's standing to

bring claims under an executory contract it rejected is Lauter v. Citgo Petroleum Corp., CV H-17-

2028, 2018 WL 801601 (S.D. Tex. Feb. 8, 2018). None of the other cases in Plaintiff’s Response

address when a claim brought by an estate accrues; rather, they discuss when a claim by a creditor

against an estate accrues for purposes of determining whether the claim will be considered an

administrative expense and receive priority over other debts. Here, however, Plaintiff is an estate

asserting claims under a rejected executory contract and does not have standing to do so under

Lauter. Cases concerning when a claim is entitled to administrative expense priority are inapt.

         13.      In In re Krisu Hosp., LLC, the court addressed accrual of a claimant’s tort claim for

purposes of determining its administrative priority under 11 U.S.C. § 503 (“§ 503”). The court

acknowledged that “[e]xamination of when a liability arises – and not when the claim accrues –


4
  See also, Kougl v. Xspedius Mgmt. Co., No. 3:04-CV-2518-D, 2005 WL 1421446, at 4 (N.D. Tex. June 1, 2005)
(dismissing declaratory judgment action where the “questions [would] be resolved in the context of the breach of
contract actions”).


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follows the statutory policy of encouraging third parties to engage in business with the debtor,”

when addressing the “business-problem policy” that “a transaction or act taken pre-petition that

gives rise to liability does not induce anyone to do business with the debtor…” In re Krisu Hosp.,

LLC, 19-20347-RLJ11, 2021 WL 1186483 at 5 (Bankr. N.D. Tex. Mar. 26, 2021), reconsideration

denied, 19-20347-RLJ11, 2021 WL 3232574 (Bankr. N.D. Tex. July 29, 2021). Because the issue

in In re Krisu Hosp., LLC relates only to determining when a claim against an estate accrues for

§ 503 administrative priority purposes, it is inapposite to the facts in this case.

         14.      Plaintiff's reliance on In re Sunarhauserman and In re Jartran is also misplaced.

There, the Sixth Circuit looked to when a creditor’s ERISA-related expense claims against an

estate arose for purposes of determining if they had administrative priority under § 503, stating

that “…the proper standard for determining [a] claim's administrative priority looks to when the

acts giving rise to the liability took place, not when they accrued.” In re Sunarhauserman, Inc.,

126 F.3d 811, 818 (6th Cir. 1997) (emphasis added). That same court looked to the Seventh

Circuit's In re Jartran, Inc., – as did Plaintiff – for guidance on the irrelevant issue of § 503(b)

claim administration. The court explained:

         “[t]hat the ads were published post-petition, and that the actual payment was made post-
         petition, was irrelevant to determining when the claim arose for purposes of § 503(b)(1)(A)
         priority. Instead, the court focused on when the commitment to place and pay for the ads
         occurred. In so doing, the Jartran court emphasized that the purpose of § 503 is to grant
         priority only to the claims those entities who are induced to do business with the debtor
         post-petition. Such claims receive priority because they enable the estate to continue for
         the benefit of existing creditors.”

Id. at 587, 588. (In re Sunarhauserman, citing Matter of Jartran, Inc., 732 F.2d 584 (7th Cir. 1984)).




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The remainder of the cases cited by Plaintiff are similar and are therefore inapposite to this issue

of whether a debtor has standing to bring post-petition claims against a party under a rejected

executory contract.5

         15.      The only analogous case addressing Plaintiff's ability to bring a claim for a post-

petition action under a rejected executory contract is Lauter. Plaintiff's Fifth, Sixth, and Seventh

claims asserted under the LPA all accrued post-rejection (and thus, post-petition) under 11 U.S.C.

§ 365. As noted in Lauter, “Plaintiff has not cited and the court has not found any authority

allowing a debtor’s estate…to pursue claims for post-petition breaches of a rejected contract.” Id.

at 15. Therefore, Plaintiff lacks standing to bring claims arising under the rejected LPA.

C.       Dugaboy Did Not Exercise Control Over Plaintiff Sufficient to Incur any Fiduciary
         Duties.

         16.      Plaintiff's assertion that Dugaboy controlled Plaintiff’s business by approving

compensation as prescribed in the LPA is little more than ipse dixit. While it contends that

Dugaboy's Agreement is “precisely the type of circumstance in which courts impose fiduciary

duties on limited partners,” it provides no persuasive authority (Response ¶ 44) and largely ignores

the only relevant authority, the Delaware Revised Uniform Limited Partnership Act (the

“Delaware Act”). 6



5
  In re Highland Group, Inc., 136 B.R. 475, 480-481 (Bankr. N.D. Ohio 1992) (disallowing creditor's administrative
claim against the estate for indemnification where creditor sought indemnification under an agreement entered into
prepetition was considered a prepetition claim not entitled to administrative priority under § 503(b), noting that "the
purpose of [§ 503] of the Bankruptcy Code is to facilitate the rehabilitation of insolvent business by encouraging third
parties to provide those businesses with necessary goods and services.") (citing In re Mammoth Mart, Inc., 536 F.2d
950, 954 (1st Cir. 1976)); In re Parker, 264 B.R. 685 (B.A.P. 10th Cir. 2001), aff'd, 313 F.3d 1267 (10th Cir. 2002)
(discussing whether a creditor had a malpractice claim under 11 U.S.C. § 101(5)(A) against a no-asset Chapter 7
bankruptcy estate and it's dischargeability under 11 U.S.C. § 523); In re Pan Am. Hosp. Corp., 364 B.R. 839 (Bankr.
S.D. Fla. 2007) (discussing accrual of creditor’s medical malpractice claim against estate for damages under 11 U.S.C.
§ 101(5) and rejecting state law accrual theory when determining claim's existence by a creditor against an estate);
Wheeler v. Magdovitz (In re Wheeler), 137 F.3d 299 (applying Mississippi law to determine legal malpractice clam
brought by a creditor against an estate occurred pre-petition).
6
 Ironically, when it suits it purpose, Plaintiff acknowledges the applicability of the Delaware Act. Am. Comp. p. 16,
Adv. No. 21-03003 [Doc 79] (“On its Fifth Claim for Relief, a declaration that: (a) limited partners, including but not

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           17.      The Delaware Act could not be clearer: “[a] limited partner does not participate in

the control of the business…[when acting on] such other matters as are stated in the partnership

agreement or in any other agreement or in writing.” Del. Code Ann. Tit. 6, § 17-303(b)(8)(o).

While approving compensation involves paying money (i.e.: Plaintiff’s property) to another entity

or individual, under Delaware law, that act is not considered participating in control of a business

if the authority to do so is delineated in the LPA. See, LPA 3.10(a). Further, Plaintiff’s argument

that “section 3.10 is not a ‘bargained-for’ right and that Dugaboy is not mentioned by name” is

both irrelevant and inaccurate. (Response, fn. 16). The Agreement itself shows the “bargain” and

Dugaboy is referenced by Section’s 3.10’s reference to approval by the “Majority Interest,” which

is defined as “the owners of more than . . .50% of the “Class A Limited Partners” 7 which is then

defined as those partners “holding Class A Limited Partnership Interest, as shown on Exhibit A,”8

which shows Dugaboy as the 74.442% owner of such interest.9

           18.      The assertion that Dugaboy had “boundless authority” (Response, ¶ 41) over

compensation and that it exercised “control” or governance over Plaintiff's business by being

authorized to approve such is unfounded. Rather, the LPA specifically limited Dugaboy's authority

by not allowing it to approve compensation exceeding five million dollars per year during a NAV

Ratio Trigger Period.10 LPA § 3.10(a).




limited to Dugaboy, have no right or authority to take part in the control (within the meaning of the Delaware Act) of
the Partnership's business…”) (emphasis added).
7
    LPA § 2.1, “Majority Interest”
8
    LPA, “Exhibit A”
9
    Id.
10
  NAV Ratio Trigger Period is discussed in the LPA § 2.1 “Definitions,” and essentially states a benchmark for when
the Partnership’s assets would become too low to justify paying more than $5,000,000 per year in compensation to
the General Partner or Affiliates.

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         19.      Further, Plaintiff's reliance on dicta from In re USACafes, L.P. Litig., 600 A.2d 43,

48 (Del. Ch. 1991) that “one who controls property of another may not…intentionally use that

property in a way that benefits the holder of the control…” and “—a fiduciary may not waste

property even if no self-interest is involved…” is inapplicable. (Response, ¶ 39). Neither

Dugaboy nor Nancy Dondero benefitted from the Agreement to the detriment of Plaintiff, nor did

they waste property by approving compensation as discussed infra.

         20.      Both Trahan v. Lazar, 457 F.Supp.3d 323 (S.D.N.Y. 2020), and KE Prop. Mgmt.

Inc. v. 275 Madison Mgmt. Corp, CIV. A. 12683, 1993 WL 285900 (Del. Ch. July 27, 1993) are

also inapposite. In Lazar, the court found that where limited partners served on the board of their

general partner and had “control over the conduct of their own divisions,” the limited partners took

an “active role” in management of the partnership. Id. at 346. In KE Prop. Mgmt., the court

questioned whether a limited partner controlled by the same entity that controls the general partner

might thereby acquire fiduciary duties as a result of the common control, but never decided the

issue. Id. at 8.      Unlike the limited partner in Lazar, Dugaboy did not exclusively control any

division within Plaintiff's organization, and the court in KE Prop. Mgmt. never ruled on the issue

of common controlling entities. Therefore, Plaintiff's cases are unhelpful to its position.

         21.      In sum, because under Del. Code Ann. Tit. 6, § 17-303(b)(8)(o) Dugaboy’s

authority to approve compensation cannot be considered control of Plaintiff, Plaintiff fails to state

a plausible claim for breach of fiduciary duty.

D.       Plaintiff's Aiding and Abetting Claim is Insufficient.

         22.      Plaintiff's position that the Donderos are subject to aiding and abetting liability fails

for several reasons. First, the Donderos cannot aid and abet a breach of fiduciary duty that did not

arise. In re Draw Another Circle, 602 B.R. 878, 904 (Bankr. D. Del. 2019).



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         23.      Second, Plaintiff's position that Nancy Dondero was a third party to her own action

as Dugaboy trustee is nonsensical. That Nancy Dondero cannot aid and abet her own self as trustee

of Dugaboy is based on a common sense reading of the analogous law and comparisons provided

in the Motion. The dearth of jurisprudence should not be surprising because aiding and abetting

by definition requires someone to aid and abet.11 However, civil conspiracy cases are instructive12

Because “[i]t is the basic law of conspiracy that you must have two persons or entities to have a

conspiracy…[a] corporation cannot conspire with itself any more than a private individual can,”

and because civil conspiracy has been equated with aiding and abetting in Delaware, it is even

more clear that Nancy Dondero could not have aided and abetted any of her own acts as Dugaboy

trustee.13

         24.      Plaintiff’s conclusory pleadings that the Donderos were aware Dugaboy would

incur a fiduciary duty by acting to bind Plaintiff (which it did not, as discussed supra), and that the

Donderos’ tortious action was simply the Agreement itself, lacks any showing of knowing

participation, as Plaintiff conflates knowledge of the Agreement with affirmative abetting action.

In re Draw at 904 (requiring a showing of scienter and knowing participation on behalf of parties

alleged to have aided and abetted). Thus, Plaintiff's Seventh Claim should be dismissed.




11
  Aiding and abetting a breach of fiduciary duty requires a showing of (i) the existence of a fiduciary relationship; (ii)
a breach of that relationship; (iii) knowing participation in the breach by a defendant who is not a fiduciary; and (iv)
damages proximately caused from the concerted action of the fiduciary and the non-fiduciary. In re USDigital, Inc.,
443 B.R. 22, 46 (Bankr. D. Del. 2011).
12
   Weinberger v. Rio Grande Industries, Inc., 519 A.2d 116, 131 (Del. Ch. 1986) ("A claim for civil conspiracy
(sometimes called 'aiding and abetting') requires that three elements be alleged…"); Gilbert v. El Paso Co., 490 A.2d
1050, 1057 (Del. Ch. 1984), aff'd, 575 A.2d 1131 (Del. 1990) (applying the same elements for civil conspiracy that
are required for aiding and abetting).
13
  Amaysing Techs. Corp. v. Cyberair Communications, Inc., CIV.A. 19890-NC, 2005 WL 578972 at 7 (Del. Ch. Mar.
3, 2005) (citing to Nelson Radio & Supply Co. v. Motorola, Inc., 200 F.2d 911, 913 (5th Cir. 1952)).

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                                    III.     CONCLUSION

         25.      Defendants request that the Court dismiss Plaintiff's Fifth, Sixth, and Seventh

Claims for failure to state a claim upon with relief can be granted under Federal Rule of Civil

Procedure 12(b)(6).

Dated: November 5, 2021                       Respectfully submitted,

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                                              TRUST



                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on November 5, 2021, a true and correct copy of the
foregoing document was served via the Court's CM/ECF system on all parties registered to receive
notice in this case.


                                                     /s/ Michael P. Aigen
                                                     Michael P. Aigen




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